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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 RODNEY LAIL, et al.,                              )
                                                   )
                    Plaintiffs,                    )
                                                   )
 v.                                                ) CASE NO. 1:10-CV-00210 (PLF)
                                                   )
 UNITED STATES, et al.,                            )
                                                   )
                    Defendants.                    )
                                                   )
                                                   )
                                                   )

                       LCvR 7.1 DISCLOSURE OF CORPORATE AFFILIATIONS
                                    AND FINANCIAL INTEREST

            As provided by LCvR 7.1, I, the undersigned, counsel of record for Defendants Unihealth

Post-Acute Care- Columbia, LLC (“Unihealth Columbia”) and Brenda Hughes, certify that to the

best of my knowledge and belief, there are no parent companies, subsidiaries or affiliates of

Unihealth Columbia which have securities in the hands of the public. These representations are

made in order that Judges of this Court may determine the need for recusal.


                             [Signature of counsel appears on following page]




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            This 21st day of July, 2010.

                                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

                I hereby certify that on the 21st day of July, 2010, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

                              Monte Fried, Esq.
                              WRIGHT, CONSTABLE & SKEEN,
                              L.L.P.
                              100 North Charles Street
                              Suite 1600
                              Baltimore, MD 21202-3805
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and that I have caused a copy to be deposited in the United States Mail, first-class postage
prepaid, addressed to:

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                                                                /s/ Oliver Garcia



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